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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION


FREDERICK WHITE,

   Plaintiff,                                      CASE NO.:     4:17-CV-143-NBB-JMV
-VS-

ALLY FINANCIAL, INC.,

    Defendant.
------------------------~/
                                      COMPLAINT

          1.     Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 et seq. ("TCPA").

                                    INTRODUCTION

          2.     The TCPA was enacted to prevent companies like ALLY FINANCIAL,

INC., ("Ally"), from invading American citizens' privacy and prevent abusive "robo-

calls."

          3.     "The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, -US--, 132

S.Ct. 740, 745, 181 L.Ed.2d 881 (2012).

          4.     "No one can deny the legitimacy of the state's goal: Preventing the phone

(at home or in one's pocket) from frequently ringing with unwanted calls. Every call uses

some of the phone owner's time and mental energy, both of which are precious. Most

members of the public want to limit calls, especially cellphone calls, to family and
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acquaintances, and to get their political information (not to mention their advertisements)

[*6] in other ways." Patriotic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS

47, at *5-6 (7th Cir. Jan 3, 2017).

         5.    "Senator Hollings, the TCPA's sponsor, described these calls as 'the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall.' 137 Cong. Rec. 30, 821 (1991) Senator Hollings

presumably intended to give telephone subscribers another option: telling the autodialers

to simply stop calling." Osario v. State Farm Bank, FS.B., 746 F. 3d 1242 (11th Cir.

2014).

         6.    According      to   the   Federal    Communications   Commission     (FCC),

"Unwanted calls and texts are the number one complaint to the FCC. There are thousands

of complaints to the FCC every month on both telemarketing and robocalls. The FCC

received      more         than       215,000       TCPA     complaints     m       2014."

https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.:.

                              JURISDICTION AND VENUE

         7.    Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCP A.

         8.    Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the



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Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, FS.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        9.       The alleged violations described herein occurred in Coahoma, Mississippi.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is

the judicial district in which a substantial part of the events or omissions giving rise to

this action occurred.

                                FACTUAL ALLEGATIONS

        10.      Plaintiff is a natural person, and citizen of the State of Mississippi,

residing in Clarksdale, Coahoma County, Mississippi.

        11.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, NA., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, FS.B., 746 F.3d 1242 (11th

Cir. 2014).

        12.      Defendant is a Corporation with its principal place of business located at

500 Woodward Avenue, Detroit, MI 48226, and which conducts business in the State of

Mississippi through its registered agent, CT Corporation System, located at 645 Lakeland

East Drive, Suite 101, Flowood, MS 39232.

        13.      Plaintiff is the regular user and carrier of the cellular telephone number at

issue, (601)   ***- 5373, and was the called party and recipient of Defendant's hereinafter
described calls.




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        14.    On several occasions over the last four (4) years due to continued calls

from Defendant to Plaintiffs aforementioned cellular telephone number, Plaintiff

instructed Defendant's agent to stop calling.

        15.    Upon receipt of the calls from Defendant, Plaintiffs caller ID identified

the calls were being initiated from, but not limited to, the following phone numbers:

(972) 537-3107, (866) 443-3117, and (972) 537-3106, and when those numbers are

called, a pre-recorded message answers "Thank you for calling Ally Financial. Para

asistencia en Espaiiol, por favor oprima el dos. Please hold for the next available agent.

Your call may be monitored and/or recorded for quality purposes ... " followed by a live

agent answering the line stating "thank you for calling Ally Financial."

        16.    Upon information and belief, some or all of the calls Ally made to

Plaintiffs cellular telephone number(s) were made using an "automatic telephone dialing

system" which has the capacity to store or produce telephone numbers to be called,

without human intervention, using a random or sequential number generator (including

but not limited to a predictive dialer) or an artificial or prerecorded voice; and to dial such

numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter "autodialer calls"). Plaintiff

will testify that he knew it was an autodialer because of the vast number of calls he

received, and because when he answered a call from Ally, he would hear a pre-recorded

message stating the call was from Ally Financial, and to please hold the line for the next

available representative.

       17.     Furthermore, some or all of the calls at issue were placed by the Defendant

using a "prerecorded voice," as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).



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        18.    None of Defendant's telephone calls placed to Plaintiff were for

"emergency purposes" as specified in 47 U.S.C. §227(b)(l)(A).

        19.    Defendant attempted to collect a debt from the Plaintiff by this campaign

of telephone calls.

       20.     In or about September of 2016, Plaintiff answered a call from Defendant

to his aforementioned cellular telephone number, met with an automated message, held

the line and was eventually connected to a live representative, and informed an

agent/representative of Defendant that the calls to his cellular phone were harassing, and

demanded that they cease calling his aforementioned cellular telephone number.

       21.     During the aforementioned phone conversation in or about September of

2016 with Defendant's agent/representative, Plaintiff unequivocally revoked any express

consent Defendant may have had for placement of telephone calls to Plaintiffs

aforementioned cellular telephone number by the use of an automatic telephone dialing

system or a pre-recorded or artificial voice.

       22.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was done so without the "express consent" of the Plaintiff.

       23.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was knowing and willful.

       24.     Additionally, on or about November 11,           2016, due to continued

automated calls to his aforementioned cellular telephone number from the Defendant,

Plaintiff again received a call from Defendant, met with automated message, was

eventually connected to a live agent/representative of Defendant and informed the



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agent/representative of Defendant that he had previously informed them not to call his

cellular phone, and again demanded that Defendant cease placing calls to his

aforementioned cellular telephone number.

       25.     Despite actual knowledge of their wrongdoing, the Defendant continued

the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express

consent the Defendant may have had to call his aforementioned cellular telephone

number.

       26.     On at least ten (10) separate occasions, Plaintiff has either answered a call

from Defendant or returned a call to Defendant regarding his account, held the line to be

connected to a live representative, and demanded that Defendant cease placing calls to his

aforementioned cellular telephone number. His principal reason for answering these calls

and making these demands of Ally was the cumulative injury and annoyance he suffered

from the calls placed by Ally. These injuries are further described in paragraphs 29

through 35 herein.

       27.     Each of the Plaintiffs requests for the harassment to end was ignored.

       28.     Defendant has placed approximately two-hundred (200) actionable calls to

Plaintiffs aforementioned cellular telephone number. (Please see attached Exhibit "A"

representing a non-exclusive call log of sixteen (16) calls from November 15, 2016

through December 14, 20 16).

       29.     From each and every call placed without express consent by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.



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       30.     From each and every call without express consent placed by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular phone by unwelcome calls, making the phone unavailable for

legitimate callers or outgoing calls while the phone was ringing from Defendant's calls.

       31.     From each and every call placed without express consent by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.

Plaintiff had to waste time to deal with missed call notifications and call logs that reflect

the unwanted calls. This also impaired the usefulness of these features of Plaintiffs

cellular phone, which are designed to inform the user of important missed

communications.

       32.     Each and every call placed without express consent by Defendant to

Plaintiffs cell phone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go through the unnecessary

trouble of answering them. Even for unanswered calls, Plaintiff had to deal with missed

call notifications and call logs that reflected the unwanted calls. This also impaired the

usefulness of these features of Plaintiffs cellular phone, which are designed to inform the

user of important missed communications.

       33.     Each and every call placed without express consent by Defendant to

Plaintiffs cell phone resulted in the injury of unnecessary expenditure of Plaintiffs cell

phone's battery power.




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        34.      Each and every call placed without express consent by Defendant to

Plaintiffs cell phone resulted in the injury of a trespass to Plaintiffs chattel, namely his

cellular phone and his cellular phone services.

        35.      As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by stress,

frustration, and aggravation.

        36.      Defendant's corporate policy is structured so as to continue to call

individuals like the Plaintiff, despite these individuals explaining to Defendant they do

not wish to be called.

        37.      Defendant's corporate policy provided no means for Plaintiff to have

Plaintiffs number removed from Defendant's call list.

        38.      Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        39.      Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        40.      Defendant has had numerous complaints against it from consumers across

the country asking to not be called; however, Defendant continues to call these

individuals.

        41.      Defendant violated the TCPA with respect to the Plaintiff.

        42.      Defendant willfully and/or knowingly violated the TCPA with respect to

the Plaintiff.



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                                         COUNT I
                                  (Violation of the TCPA)

        43.     Plaintiffrealleges and incorporates paragraphs one (1) through forty two

(42) above as if fully set forth herein.

       44.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiffs cellular telephone after

Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone

communication from Defendant, and demanded for the calls to stop.

       45.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiffs prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against ALLY FINANCIAL, INC., for statutory damages, treble

damages, punitive damages, actual damages and any other such relief the court may deem

just and proper.




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